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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                              Tallahassee Division
                                Civil Action No.


FLORIDA CHAPTER OF AMERICAN
ACADEMY OF PEDIATRICS, INC.,

                Plaintiff,

vs.

RANDY FINE in his capacity as Chair, Health &
Human Services Committee, Florida Legislature.

                Defendant.




      PLAINTIFF’S EMERGENCY MOTION FOR PRELIMINARY
   INJUNCTIONAND REQUEST FOR EXPEDITED CONSIDERATION


      The Health & Human Services Committee of the Florida House of

Representatives has served upon Plaintiff Florida Chapter of American Academy

of Pediatrics (“AAP”) a subpoena for documents to be returned no later than May

4, 2023, at 10:00 a.m. The subpoena informs the AAP that failure to comply may

subject the AAP to contempt, punishable pursuant to constitutional and statutory

provisions, which provisions provide penalties including imprisonment and fine.
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This motion seeks a preliminary injunction staying the effectiveness of the

subpoena until the Court is able to hear this matter on the merits.

                               Factual Background

       Senate Bill 254 passed the Florida Senate on April 4, 2023, and passed the

Florida House of Representatives on April 19, 2023. Among other things, the bill

prohibits medical practitioners from administering “sex-reassignment prescriptions

or procedures,” with limited exceptions.

      Five days after the House of Representatives passed Senate bill 254,

Defendant, acting in his capacity as Chair of the Health & Human Services

Committee, issued a subpoena to Plaintiff that demanded production of all

documents in Plaintiffs possession that:

       “contain or reflect communications … regarding the development,
      endorsement, and recommendation of the standards of care” “for the
      assessment, diagnosis, and treatment of gender dysphoria in children and
      adolescents;”
      “reflecting disagreement or skepticism, by [the AAP’s] members or other
      practitioners, that the standards of care should include gender-affirming
      care;”
      “that evidence, reflect, or explain [the AAP’s] … consideration and rejection
      of the view that the standards of care should not include gender dash
      affirming care;”
      “that reference social media, peer influence, or other social influences
      relating to gender dysphoria in children and adolescents.”
[Exhibit A]


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                                      Argument

       All the elements necessary for the issuance of a preliminary injunction are

present in this case.

There is a substantial likelihood that Plaintiff will prevail on the merits.

       The subpoena attempts to compel Plaintiff to disclose the communications,

positions, and thought processes among its members with respect to a matter that

has become the subject of public and political controversy.1 It is well settled that the

First Amendment prohibits government, in the absence of a compelling state

interest, not only from directly suppressing speech and association, but from doing

so indirectly by demanding disclosure of private communications or otherwise

taking action that can reasonably be expected to intimidate persons into refraining

from exercising their rights of speech and association. See Buckley v, Valeo, 424

U.S. 1, 14-15, 25 (1976)(“The constitutional right of association explicated in

NAACP v. Alabama … stemmed from the Court’s recognition that effective

advocacy of both public and private points of view, particularly controversial ones,

is undeniably enhanced by group association.”); NAACP v. Alabama, 357 U.S. 449,


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 The controversial nature of the subject is clearly set forth in the legislative staff
analysis that accompanied the House companion bill to Senate Bill 254. [Exhibit
B]
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459, 462-463 (1958) (“This Court has recognized the vital relationship between

freedom to associate and privacy in one’s associations. Inviolability of privacy in

group association may in many circumstances be indispensable to preservation of

freedom of association, particularly where a group espouses dissident beliefs.”);

Sweezy v. State, 354 U.S. 234, 249 (1957) (“Merely to summon a witness and

compel him, against his will, to disclose the nature of his past expressions and

associations is a measure of governmental interference in these matters. These are

rights which are safeguarded by the Bill of Rights and the 14th amendment.”)

       Compelling Plaintiff to produce all communications including those that

reflect disagreement or skepticism or rejection of a particular viewpoint necessarily

results in disclosure of the position of individual members with respect to a

controversial political issue. Such compulsion not only violates the First

Amendment rights of those individuals but can reasonably be expected to

discourage future membership in the association.

Plaintiff will suffer irreparable injury unless the injunction issues.

       “It is well settled that the loss of First Amendment freedoms for even

minimal periods of time constitutes irreparable injury justifying the grant of a

preliminary injunction.” Cate v. Oldham, 707 F. 2d 1176, 1188 (11th Cir. 1983). In

this case Plaintiff and its members will not only suffer irreparable injury because of


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the loss of their privacy and communications prior to consideration of the merits,

but the invasion of their privacy cannot be corrected once the communications are

made public.

The threatened injury to the movant outweighs whatever damage the proposed
injunction may cause the opposing party.
       The legislative history of Senate Bill 254 itself demonstrates that the state

will suffer no damage from an injunction. In the first place, the Legislature has

already passed a comprehensive law prohibiting gender-affirming treatment in most

cases. Second, the thorough Treatment of the subject in the legislative staff analysis

shows that the Legislature already had extensive evidence of both sides of the issue

at the time Senate Bill 254 was voted upon. [Exhibit B] Third, the Senate and

House considered and debated Senate Bill 254 and its House companion for more

than 6 weeks with no apparent need for the information they now seek to compel.

Fourth, the Legislature could have followed the practice that it has employed on

thousands of bills for hundreds of years by hearing from interested experts and

laypersons with experience and viewpoints on both sides of the issue without

having to invade anyone’s First Amendment rights. Finally, the Legislature’s

investigative power is limited to gathering information relevant to the purpose of

the investigation. Metz v. MAT Media, LLC, 290 So. 3d 622 (Fla. 2020). The

Legislature is not an executive body. It’s purpose is to pass laws. In this case, it has

already passed the law.
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       The Florida Supreme Court’s statement in Metz is apropos: “Yet broad as it

is, the legislative power to investigate is not unlimited. ‘Moderation, restraint and

caution should be the rule in exercising it. If not circumscribed by reasonable

limitations it is one which could lead to abuses and attendant encroachment on

individual liberties.’” Metz, 290 So. 3d at 627.

The public interest will not be harmed if the injunction is issued.

       It is difficult to conceive how the public interest would be harmed by the

inability of the legislative committee to obtain the subpoenaed information

considering that the House had no trouble passing Senate Bill 254 in the absence of

the information.



                                      s/Barry Richard
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